        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 1 of 29




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALAN W. SCHMIDT, on behalf of himself         :
and in a representative capacity on behalf    :
of all others similarly situated and          :
derivatively on behalf of Genaera             :
Corporation and on behalf of the              :
Genaera Liquidating Trust                     :
        Plaintiffs,                           :          CIVIL ACTION
                                              :
       v.                                     :
                                              :
JOHN A. SKOLAS, et al.,                       :          No. 12-3265
     Defendants.                              :


                                     MEMORANDUM

Schiller, J.                                                             November 10, 2015

       Alan Schmidt is a former shareholder of Genaera Corporation (“Genaera”) and a

unitholder of the Genaera Liquidating Trust (“GLT”). Following remand from the Third Circuit,

he filed the Second Amended Complaint (“SAC”) on behalf of himself, other Genaera

shareholders and unitholders, and derivatively on behalf of Genaera and GLT, against: John A.

Skolas; Leanne Kelly; Zola B. Horovitz; John L. Armstrong, Jr.; Osagie O. Imasogie; Mitchell

D. Kaye; Robert F. Shapiro; Paul K. Wotton; Robert DeLuccia; David Luci; Steve Rouhandeh;

Jeffrey Davis; Mark Alvino; Biotechnology Value Fund, LP, Biotechnology Value Fund II, L.P.,

and BVF Inc. (collectively, “BVF”); Ligand Pharmaceuticals, Inc. (“Ligand”); XMark Capital

Partners, LLC, XMark Opportunity Funds, L.P., XMark Opportunity Fund Ltd., XMark JV

Investment Partners LLC, XMark Opportunity Partners, LLC (collectively, “XMark”); Argyce

LLC (“Argyce”); SCO Financial Group (“SCO”); Dipexium Pharmaceuticals, LLC

(“Dipexium”); MacroChem Corporation (“MacroChem”); Access Pharmaceuticals, Inc.

(“Access”); Mark N. Lampert; John L. Higgins; and nominal defendants Genaera Corporation
         Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 2 of 29




and Genaera Liquidating Trust for breach of their fiduciary duties, as well as aiding and abetting

thereof, arising out of the liquidation of Genaera.

        Seven groups of Defendants have moved to dismiss the Second Amended Complaint: (1)

Directors and Officers Kelly, Armstrong, Horovitz, Imasogie, Shapiro, and Wotton (“D&O

Defendants”); (2) Trustee Argyce and Skolas (“Trust Defendants”); (3) XMark and Kaye

(“XMark Defendants”); 1 (4) Dipexium, DeLuccia, and Luci (“Dipexium Defendants”); (5) BVF

and Lampert (“BVF Defendants”); (6) Ligand and Higgins (“Ligand Defendants”); and (7)

MacroChem, Access, SCO, Rouhandeh, Davis, Alvino (“Access Defendants”). For the reasons

that follow, the Court grants Defendants’ motions to dismiss.

I.      BACKGROUND

        This action stems from the dissolution of Genaera, a biotechnology company that

developed pharmaceutical drugs and held licenses to intellectual property and patents. (Second

Am. Compl. ¶ 63.) Genaera was a Delaware corporation whose principal place of business was

in Pennsylvania. (Id. ¶ 11.) It was dissolved on June 12, 2009, and its assets were transferred to

GLT, a Delaware trust, which was managed by Defendant Argyce as trustee. (Id. ¶¶ 150–52,

158.) At that time, all shares of Genaera stock were canceled, and each stockholder became a

unitholder of GLT. (Id. ¶¶ 158–59.) Plaintiff’s allegations in the SAC revolve around two events:

the D&O Defendants’ participation in a scheme to wrongfully dissolve Genaera and the Trust

Defendants’ sale of the assets in GLT for less than their fair value to Genaera insiders and their

affiliates, at the expense of Genaera shareholders. The other Defendants named in the SAC

allegedly aided and abetted the D&O Defendants and Trust Defendants in breaching their




1
  In this Memorandum, the term “D&O Defendants” includes Mitchell Kaye, who was a Genaera Director during the
relevant time period, but does not include his company, Xmark.

                                                     2
        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 3 of 29




fiduciary duties. The following summarizes the factual allegations in the Second Amended

Complaint.

        A.      Dissolution of Genaera

        The SAC traces the conspiracy to dissolve Genaera back to 2007, when XMark began to

purchase large amounts of Genaera common stock. (Id. ¶¶ 5, 66.) By September 28, 2007, when

Mitchell Kaye, XMark’s CEO, was elected to Genaera’s Board of Directors, XMark owned 21%

of Genaera’s stock. (Id. ¶ 65, 68–69.) At that time, Kaye was a co-investor in Somanta

Pharmaceuticals with Defendants Rouhandeh, Davis, and SCO. (Id. ¶ 67.)

        In May 2008, Genaera announced various initiatives to reduce costs in order to maintain

sufficient resources to continue to develop its assets. (Id. ¶ 112.) However, in April 2009,

Genaera’s Board of Directors announced that the company’s prospects were not promising and

stated that dissolution and liquidation would return the greatest value to stockholders. (Id. ¶ 120.)

On April 18, 2009, the Board unanimously approved—and recommended that shareholders vote

to approve—a plan to dispose of all of the company’s assets and to make distributions to

stockholders. (Id. ¶ 122.) Defendant Kaye did not attend this meeting. (Id.) Genaera’s stock price

declined dramatically following the announcement that the Board had approved the plan of

dissolution. (Id. ¶ 138.)

        In anticipation of the shareholder vote on the plan of dissolution, the Directors issued a

proxy statement that the SAC alleges falsely asserted that no Genaera directors or officers would

profit from dissolution. (Id. ¶ 128.) The SAC also alleges that the proxy statement failed to

mention that Defendant Argyce had already been selected as trustee, omitted important details

that would have shown that some of Genaera’s assets were quite promising, and failed to explain

that Genaera’s large net operating loss could only have been monetized by selling the company



                                                 3
        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 4 of 29




as a whole. (Id. ¶¶ 118, 127, 137.) At a special meeting on June 4, 2009, the shareholders—the

two largest of which were XMark and BVF—approved the Board’s recommendation to adopt the

plan of dissolution. (Id. ¶¶ 121, 140.) The next day, XMark sold one-third of its shares of

Genaera at a price of $0.3095 per share, which was more than 1.6 times the average closing price

over the ten preceding days. (Id. ¶ 144–45.)

       Genaera filed articles of dissolution with the Delaware Secretary of State on June 12,

2009, and the company’s assets and liabilities were transferred to GLT. (Id. ¶ 150.) Argyce LLC

was named Trustee, despite the fact that its President and CEO, Skolas, had been fired as

Genaera’s CFO in 2007. (Id. ¶¶ 152, 154). Thereafter, each outstanding share of Genaera

common stock was canceled and replaced by a unit in GLT. (Id. ¶¶ 158–59.) Under the Trust

Agreement, the Trustee would have three years to “monetiz[e]” Genaera’s assets. (Id. ¶ 124.) In

2010, the Trust reported “General and Administrative” expenses of $687,000.00, which was

nearly 25% of the Trust’s total revenue of $3.028 million that year. (Id. ¶ 221.)

       B.      Genaera’s Assets

               1.      Aminosterol Assets

       At the time of its dissolution, Genaera owned the rights to Squalamine and

Trodusquemine compounds (“Aminosterol Assets”), some of which are used in eye drops that

treat wet age-related macular degeneration. (Id. ¶ 213.) On July 8, 2009, twenty-six days after

GLT was established, the Trustee accepted a $50,000 down payment on the sale of the

Aminosterol Assets for $200,000 to BBM Holdings, Inc., the predecessor to Ohr

Pharmaceuticals. (Id. ¶¶ 205, 214.) On August 12, 2009, the Trustee publicly reported that the

Aminosterol Assets had been sold in May 2009. (Id. ¶ 208.) According to the SAC, the Trustee




                                                 4
        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 5 of 29




“had the opportunity to sell the assets” for a higher price, and there was no public announcement

of bidding for the assets. (Id. ¶¶ 207, 212.)

               2.      Pexiganan Asset

       Pexiganan is a topical cream for the treatment of diabetic foot infections that Genaera and

its predecessor initially developed. (Id. ¶ 80.) In 2007, MacroChem licensed the right to develop

Pexiganan from Genaera for an initial fee of $1 million. (Id. ¶¶ 85, 87.) Under the license

agreement, Genaera could earn payments up to $35 million from MacroChem based on various

sales-based milestones, as well as ten percent royalty payments based on net sales. (Id. ¶ 85.) In

April 2008, MacroChem merged with Virium, a nonpublic company controlled by Defendants

Rouhandeh and SCO. (Id. ¶ 92.) Defendant Alvino was then a director of MacroChem, and the

SAC alleges that his firm Griffin Securities provided a “sham” fairness opinion in support of the

merger. (Id. ¶ 93.) MacroChem allegedly diverted funds that should have been used to develop

Pexiganan to Rouhandeh and Virium. (Id. ¶ 106.) Despite publicly praising Pexiganan’s

potential, MacroChem only spent $45,110 to develop the drug in 2008. (Id. ¶ 104.) In February

2009, Access acquired MacroChem and “ceased development of MacroChem’s dermatology

products, including Pexiganan.” (Id. ¶¶ 108, 110.) The SAC alleges that the D&O Defendants

knew that Genaera had a right under the licensing agreement with MacroChem to demand that

MacroChem return the Pexiganan assets by October 2009 if MacroChem refused to develop the

drug, but the Defendants did not make any such demand. (Id. ¶ 111.)

       After Genaera’s dissolution, GLT terminated the licensing agreement and the Pexiganan

assets were returned to the Trust. (Id. ¶ 189.) On January 11, 2010, the Trustee publicly solicited

bids for Pexiganan, with a deadline for bids of February 12, 2010. (Id. ¶ 191.) During that time,

potential bidders were required to request and sign a confidential disclosure agreement in order



                                                5
         Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 6 of 29




to receive information about the asset. (Id.) Ultimately, GLT sold Pexiganan to Dipexium in two

separate sales on April 8, 2010, and March 21, 2011, for a total price of $272,500. (Id. ¶ 196.)

Dipexium had been formed in January 2010 by Defendants DeLuccia and Luci. After the

purchase of Pexiganan, Dipexium was able to raise $1.42 million from twenty-seven investors.

(Id. ¶ 192–93.) Whereas MacroChem’s Pexiganan license had required royalty and milestone

payments, the SAC alleges that the Trustee helped DeLuccia and Luci to acquire the rights to

Pexiganan free from royalty and milestone payment obligations. (Id. ¶ 203).

               3.     Interlukin 9 (“IL9") Asset

        Since 2007, Genaera had owned a licensor interest in the IL9 antibody program for

asthma, which it licensed to MedImmune, LLC (“MedImmune”). (Id. ¶ 70.) According to the

SAC, Genaera could have received up to $54 million in payments from MedImmune in addition

to royalties, if MedImmune reached certain milestones in the development of IL9. (Id. ¶ 75.) In

2008, Defendant Armstrong, as President of Genaera, made several public comments about the

value of the IL9 Program. (Id. ¶¶ 13, 75, 77.) The SAC further alleges that Dr. Michael Gast,

Genaera’s Chief Medical Officer, periodically shared MedImmune’s confidential information

about MedImmune’s development of the IL9 asset with Armstrong. (Id. ¶ 78.) The SAC infers

from these facts that the Genaera Board of Directors knew at the time of dissolution that

MedImmune was preparing to continue studies of the IL9 program that had been on clinical hold.

(Id. ¶ 79.)

        On May 18, 2010, Trust Defendants sold IL9 to Ligand for $2.75 million, far less than

previous estimates of its value. (Id. ¶¶ 172–73.) Ligand then sold half of its interest in IL9 to

BVF. (Id. ¶ 173.) In anticipation of this transaction, BVF had sold off some of its stock in

Ligand, so that it owned less than a 10% interest, which the SAC alleges was the statutory



                                               6
        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 7 of 29




threshold for insiders. (Id. ¶ 171.) The sale to BVF was not mentioned in GLT’s purchase

agreement with Ligand. (Id. ¶ 173.) The SAC also alleges that Kaye provided confidential

information about the IL9 asset to Defendant Lampert, President of BVF. (Id. ¶ 185).

       C.      Plaintiff’s Lawsuit

       Schmidt, a former investment professional and high-ranking employee of Brown

Brothers Harriman, was a stockholder of Genaera from approximately 1998 until its dissolution

on June 12, 2009, and thereafter became a unitholder of GLT by operation of law. (Id. ¶¶ 10,

58.) “[T]hroughout the years, [Schmidt] has held many conversations with Genaera officers and

directors” regarding the assets at issue and their values and prospects. (Id. ¶ 10.) He filed this

lawsuit on June 8, 2012, on behalf of himself, all former shareholders of Genaera, and all

unitholders of GLT, and derivatively on behalf of Genaera and GLT. (Id. ¶¶ 45, 51, 57.) After

Schmidt filed an Amended Complaint, this Court granted Defendants’ motions to dismiss on the

ground that the statute of limitations barred Plaintiff’s claims, and dismissed Defendant Ohr

Pharmaceuticals for lack of personal jurisdiction. (Aug. 12, 2013 Mem. at 11, 14.) Plaintiff

appealed, and the Third Circuit reversed in part and remanded, holding that it was premature to

dismiss based on the statute of limitations. Schmidt v. Skolas, 770 F.3d 241, 253 (3d Cir. 2014).

Following remand, the Court held oral argument on the remaining Motions to Dismiss on

February 3, 2015, prior to which Plaintiff filed the SAC. The counts alleged in the SAC are

against: (1) the D&O Defendants for breach of fiduciary duty, and all other Defendants for

aiding and abetting; (2) the Trust Defendants for breach of fiduciary duty, and all other

Defendants for aiding and abetting; (3) all Defendants for punitive damages; and (4) Dipexium

for recission of the sale of Pexiganan. The Court held an additional oral argument on

Defendants’ motions to dismiss the SAC on September 30, 2015.



                                                7
        Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 8 of 29




II.    STANDARD OF REVIEW

       In reviewing a motion to dismiss for failure to state a claim, a district court must accept

as true all well-pleaded allegations and draw all reasonable inferences in favor of the non-

moving party. See Powell v. Weiss, 757 F.3d 338, 341 (3d Cir. 2014). A court need not, however,

credit “bald assertions” or “legal conclusions” when deciding a motion to dismiss. Anspach ex

rel. Anspach v. City of Phila., Dep’t of Pub. Health, 503 F.3d 256, 260 (3d Cir. 2007); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       “Factual allegations [in a complaint] must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). To survive a motion to

dismiss, a complaint must include “enough facts to state a claim to relief that is plausible on its

face.” Id. at 570. Although the Federal Rules of Civil Procedure impose no probability

requirement at the pleading stage, a plaintiff must present “enough facts to raise a reasonable

expectation that discovery will reveal evidence of the necessary element[s]” of a cause of action.

Phillips v. Cnty. of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. Simply reciting

the elements will not suffice. Id. (holding that a pleading that offers labels and conclusions

without further factual enhancement will not survive a motion to dismiss); see also Phillips, 515

F.3d at 231. In deciding a motion to dismiss, the court may consider “allegations contained in the

complaint, exhibits attached to the complaint and matters of public record.” Schmidt, 770 F.3d at

249.

       The Third Circuit has established a two-part analysis for reviewing a motion to dismiss

for failure to state a claim. First, the factual allegations of the claim must be separated from the



                                                 8
          Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 9 of 29




legal conclusions. The well-pleaded facts are accepted as true and any legal conclusions are

disregarded. Fowler v. UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009). Second, the

court must make a common sense determination as to whether the facts alleged in the complaint

are sufficient to state a plausible claim for relief. Id. at 211. If the court can only infer the

possibility of misconduct, the complaint must be dismissed because it has alleged—but failed to

show—that the pleader is entitled to relief. Id.

III.     DISCUSSION

         A.       Breach of Fiduciary Duty Claims Against Director and Officer Defendants

         Under Delaware law, corporate directors and officers owe fiduciary duties of care and

loyalty to the corporation and its shareholders. 2 Mills Acquisition Co. v. MacMillan, Inc., 559

A.2d 1261, 1280 (Del. 1989). Plaintiff alleges breaches of these fiduciary duties based on two

related, but distinct, courses of conduct: (1) wrongful dissolution of Genaera; and (2)

misrepresentations in the shareholder proxy.

                  1. Wrongful Dissolution

         The core of Plaintiff’s first claim is that the D&O Defendants mismanaged Genaera’s

assets and unnecessarily steered the company toward dissolution to facilitate the sale of the

assets to Genaera insiders at unreasonably low prices. (Second Am. Compl. ¶ 1.) Under

Delaware law, courts faced with claims of breach of fiduciary duty by a corporation’s directors

and officers apply the business judgment rule. Cede & Co. v. Technicolor, Inc., 634 A.2d 345,

360–61 (Del. 1993). While the business judgment rule is an affirmative defense that cannot

generally form the basis of a Rule 12(b)(6) dismissal, it can be considered in evaluating a motion


2
  The parties agree that Delaware substantive law applies to this dispute pursuant to Pennsylvania’s statutory
“internal affairs doctrine,” which requires federal courts sitting in Pennsylvania to look to the law of the state of
incorporation to resolve disputes involving the corporation’s internal affairs. Banjo Buddies, Inc. v. Renosky, 399
F.3d 168, 170 n.10 (3d Cir. 2005).

                                                           9
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 10 of 29




to dismiss if the unanswered affirmative defense appears on the face of the complaint. In re

Tower Air, Inc., 416 F.3d 229, 238 (3d Cir. 2005). As in Tower Air, the SAC states that the

business judgment rule does not negate Plaintiff’s claims, and therefore Plaintiff must plead

around the rule. See id.; (Second Am. Compl. ¶ 226 (“The actions and decisions of the Director

and Officer Defendants are not protected by the business judgment rule . . . .”).)

       The business judgment rule is a presumption that the board of directors makes its

decisions “on an informed basis, in good faith, and in the honest belief that the action taken was

in the best interests of the company.” Reis v. Hazlett Strip-Casting Corp., 28 A.3d 442, 457

(Del. Ch. 2011) (quoting Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984)). As long as this

presumption applies, a board action will be upheld unless it cannot be justified by any rational

business purpose. Cede & Co, 634 A.2d at 361. The shareholder has the initial burden of

rebutting the presumption by showing either a breach of the duty of loyalty or a breach of the

duty of care. Id. If the shareholder rebuts the presumption, the directors must prove the entire

fairness of the transaction. Id. If the shareholder fails, however, to rebut the presumption, he

must show that the directors’ decision was irrational. Reis, 28 A.3d at 457. Plaintiff argues that

the D&O Defendants breached both their duty of loyalty and their duty of care.

                       a. Breach of the Duty of Loyalty

       To show a breach of the duty of loyalty, Plaintiff must allege that the directors were

either interested in the transaction at issue or lacked independence. Orman v. Cullman, 794 A.2d

5, 22 (Del. Ch. 2002). A director is interested in a transaction when, for example, she appears on

both sides of the transaction or receives some personal benefit not shared by the corporation’s

shareholders. Cede & Co., 634 A.2d at 362. If less than a majority of the board members has a

financial interest in the transaction, the presumption of the business judgment rule is only



                                                10
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 11 of 29




rebutted if: (1) the interested director fails to disclose his interest to the rest of the board; or (2)

the other members are “dominated or controlled by a materially interested director.” Orman, 794

A.2d at 23. A director lacks independence when he is influenced by personal or external

considerations not limited to the corporate merits of the transaction. Cede & Co., 634 A.2d at

362.

        Plaintiff does not allege facts sufficient to give rise to an inference of disloyalty. First, he

fails to show that Mitchell Kaye, who served concurrently as a director of Genaera and as CEO

of XMark, one of Genaera’s two largest shareholders, was either interested or otherwise lacked

independence with respect to Genaera’s dissolution. Plaintiff alleges that Kaye was interested in

the decision to dissolve because he had prearranged to sell a portion of XMark’s stock the day

after the shareholder vote. (Id. ¶¶ 144–48.) However, he neglects to identify to whom XMark

sold its shares or, more importantly, to explain why that party would condition the sale on

Genaera’s dissolution. Therefore the fact that the sale of XMark’s stock was prearranged does

not show that he received a personal benefit that would make him interested in the dissolution.

See Iqbal, 556 U.S. at 678 (noting that pleading facts that are “merely consistent with” liability

falls short of the requirements of Rule 8).

        Plaintiff also alleges that Kaye lacked independence because he was an investment

partner in Somanta with Rouhandeh, Davis, and SCO, and because he was an acquaintance of

Lampert, the President of BVF. (Second Am. Compl. ¶¶ 65, 67). However, mere personal or

professional relationships do not give rise to an inference that a director lacks independence. See

Chaffin v. GNI Grp., Inc., Civ. A. No. 16211, 1999 WL 721569, at *5 & n.12 (Del. Ch. Sept. 3,

1999). Plaintiff fails to allege any specific facts that suggest that Rouhandeh, Davis, or Lampert

took any actions to influence Kaye’s decisions or provide a motive for why Kaye would sabotage



                                                  11
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 12 of 29




Genaera for their benefit. Plaintiff’s only specific allegation of collusion between Kaye and the

outside Defendants was that Kaye provided Ligand and BVF with confidential information about

the IL9 program during the bidding process. (Second Am. Compl. ¶ 179.) However, this would

have occurred after Genaera’s dissolution, when Kaye and the other D&O Defendants were no

longer directors or officers. Moreover, this allegation is made “upon information and belief.”

(Id.) While pleading based on information and belief is permissible, it must be based on facts that

make the inference plausible. See Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir.

2010). Aside from alleging that Kaye was a “close acquaintance” of Lampert, Plaintiff fails to

plead any facts to support the inference that Kaye colluded with Ligand and BVF. (Second Am.

Compl. ¶ 65.) Plaintiff therefore fails to meet the plausibility standard required to survive a

motion to dismiss. See Arista Records, 604 F.3d at 120.

       Plaintiff pleads even fewer facts in support of his allegations against the remaining D&O

Defendants. Plaintiff argues that Armstrong and Kelly, as employees of Genaera, were interested

in the company’s dissolution because they would receive large severance packages upon their

discharge. (Second Am. Compl. ¶ 23.) However, Delaware law does not view the possibility of

payment upon change of control of a company as a disqualifying interest when this payment is to

be made under a preexisting employment agreement. In re Novell, Inc. S’holder Litig., Civ. A.

No. 6032, 2013 WL 322560, at *11 & n.148 (Del. Ch. Jan. 3, 2013).

       Additionally, he infers that the other D&O Defendants were beholden to Kaye because

they made various decisions that allegedly benefitted Kaye and hurt the company. In particular,

Plaintiff claims that the D&O Defendants allowed Kaye to “benefit from the liquidation status of

the assets” by failing to maximize the value of Genaera’s assets, failing to disclose material

information in the proxy, and hiring Skolas as the Trustee. (Mem. of Law in Opp’n to D&O



                                                12
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 13 of 29




Defs. Mot. to Dismiss Second Am. Compl. at 13.) Plaintiff fails to allege how these choices

actually benefitted Kaye. Moreover, he argues, in effect, that the D&O Defendants must have

lacked independence because, in his view, these decisions were ill-advised. However, this

argument turns the business judgment rule on its head. Delaware law requires the Court to

presume that these business decisions were rational unless Plaintiff can show that the directors

lacked independence. While acquiescing to another’s wishes in contravention of sound business

judgment may constitute a breach of the duty of loyalty, see Tower Air, 416 F.3d at 241, Plaintiff

alleges no facts to suggest that such acquiescence occurred. Plaintiff’s allegations that the other

directors and officers were beholden to Kaye and Kaye’s business acquaintances are thus

conclusory, and are not entitled to the presumption of truth. See Iqbal, 556 U.S. at 680–81.

Plaintiff is unable to show a breach of the duty of loyalty.

                       b. Breach of the Duty of Care

       A plaintiff may also overcome the business judgment rule by showing that the directors

failed to inform themselves of all material information reasonably available to them and to act on

the basis of that information. Cede & Co., 634 A.2d at 367. Directors breach the duty of care

when they consciously and intentionally fail to make a good faith effort to be informed and

exercise judgment. Tower Air, 416 F.3d at 240.

       Plaintiff argues that the D&O Defendants breached the duty of care by failing to fully

inform themselves of the alternatives to dissolution, including selling the company as a whole,

by mismanaging Genaera’s assets, and by appointing Skolas’s firm Argyce as Trustee of GLT, a

position for which it was unqualified. (Mem. of Law in Opp’n to D&O Defs. Mot. to Dismiss

Second Am. Compl. at 20–21.) However, the SAC does not allege facts sufficient to show that

the D&O Defendants failed to inform themselves about alternatives. Plaintiff does not allege, for



                                                 13
         Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 14 of 29




example, that the D&O Defendants “failed to establish an information and reporting system” or

otherwise deliberately declined to gather necessary information about alternatives to dissolution

prior to the Board vote. See Tower Air, 416 F.3d at 238. In fact, Plaintiff alleges that he

discussed several of his preferred alternatives to dissolution with certain D&O Defendants and

other Genaera officers. (Second Am. Compl. ¶¶ 119, 166). At oral argument, Plaintiff’s attorney

asked the Court to infer a breach of the duty of care from allegations that the D&O Defendants

omitted relevant alternatives to dissolution from the shareholder proxy. (Sept. 30, 2015

Transcript at 25.) However, Plaintiff alleges that the D&O Defendants were aware of the

alternatives to dissolution and deliberately failed to disclose that information in the proxy. (See

Second Am. Compl. ¶¶ 117–19, 127.) Moreover, Directors are free to consider alternative

courses of action and then exclude them from the proxy, so a particular option’s absence from

the proxy does not give rise to an inference that the D&O Defendants did not consider it at all.

See Dent v. Ramtron Int’l Corp., Civ. A. No. 7950, 2014 WL 2931180, at *15 (Del. Ch. June 30,

2014).

         Plaintiff’s additional arguments that the D&O Defendants mismanaged Genaera’s assets

and appointed a trustee who was unqualified for the position are equally ineffective in

establishing breach of the duty of care. These are business judgments that, even if ill-advised, do

not give rise to a plausible inference that the D&O Defendants were uninformed. Thus, Plaintiff

fails to allege facts sufficient to show breach of the duty of care.

                       c. Rationality

         When, as here, the business judgment rule’s presumption applies, a court will uphold the

decisions in question unless they cannot be attributed to any legitimate business rationale. Reis,

28 A.3d at 257. A plaintiff must allege that the conduct in question is “so far beyond the bounds



                                                  14
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 15 of 29




of reasonable judgment that it seems essentially inexplicable on any ground other than bad

faith.” Parnes v. Bally Entm’t Corp., 722 A.2d 1243, 1246 (Del. 1999). Tellingly, Plaintiff does

not argue that he has met this standard. While he questions the wisdom of several of the D&O

Defendants’ choices, he does not allege that they were inherently irrational. Since the SAC does

not show that dissolution was irrational, the business judgment rule requires the dismissal of

Plaintiff’s claim for breach of fiduciary duty by wrongful dissolution.

               2. Misrepresentation in the Shareholder Proxy

       In addition to his wrongful dissolution claim, Plaintiff argues that the D&O Defendants

breached their duty of disclosure by making various misrepresentations and omissions in the

shareholder proxy issued prior to the June 4, 2009 special meeting, when stockholders voted on

the plan of dissolution. (Second Am. Compl. ¶¶ 127–39.) To state a claim for breach of the duty

of disclosure on the basis of an affirmative misrepresentation, a plaintiff must allege facts

showing “(1) a material statement or representation in a communication contemplating

stockholder action (2) that is false.” Pfeffer v. Redstone, 965 A.2d 676, 685 (Del. 2009). To state

a claim on the basis of an omission, a plaintiff must show “(1) material, (2) reasonably available

(3) information that (4) was omitted from the proxy materials.” Id. at 686. An omitted or

misstated fact is material where there is a “substantial likelihood that a reasonable shareholder

would consider it important in deciding how to vote.” In re Orchard Enters., Inc. Stockholder

Litig., 88 A.3d 1, 17 (Del. Ch. 2014).

       As an initial matter, the D&O Defendants argue that Plaintiff’s duty of disclosure claims

should be dismissed because Delaware law does not allow recovery of damages for disclosure

violations. (Mem. in Supp. of Mot. of D&O Defs. to Dismiss Second Am. Compl. at 19.) The

D&O Defendants rely on In re Transkaryotic Therapies, Inc., 954 A.2d 346 (Del. Ch. 2008), for



                                                15
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 16 of 29




the proposition that plaintiffs must seek a preliminary injunction before the shareholder vote to

enforce the duty of disclosure. Transkaryotic Therapies, Inc., 954 A.2d at 360. However,

Delaware law is far from settled on whether this constitutes a requirement rather than merely a

preference. See Orchard Enters., 88 A.3d at 52–53 (disagreeing with Transkaryotic and stating

that “[i]n my view, in an appropriate case Delaware law continues to recognize the possibility of

a post-closing award of damages as a remedy for a breach of fiduciary duty of disclosure”). In

any event, this is a consideration about the appropriate remedy that does not support the

dismissal of Plaintiff’s claim at this stage of the litigation. See id. at 53 (reserving judgment until

after trial as to whether damages are appropriate).

       Plaintiff cites various misrepresentations in the proxy. First, Plaintiff argues that the

proxy affirmatively misrepresented the fact that the Trustee, rather than the Directors, would sell

the assets. (Mem. of Law in Opp’n to D&O Defs. Mot. to Dismiss Second Am. Compl. at 16.) In

particular, he cites a statement under the heading, “Sales of our Assets,” which provides that

“[s]ales of our assets will be made on such terms as are approved by the Board of Directors in its

sole discretion.” (Mot. of D&O Defs. to Dismiss Second Am. Compl., Ex. 1 [Proxy], at 15.)

However, alleged misrepresentations are not material when they would only mislead a

stockholder if read in isolation, rather than in the context of the entire document. See In re Best

Lock Corp. S’holder Litig., 845 A.2d 1057, 1071 (Del. Ch. 2001). Both on the page immediately

preceding the statement quoted above and in the section titled “Risk Factors to Be Considered by

Stockholders in Deciding Whether to Approve the Plan of Dissolution,” the proxy makes clear

that the Directors could resign and turn management of the liquidation process over to a third-

party trustee at any time. (Proxy at 9, 14.) Therefore, Plaintiff does not state a claim for breach of

the duty of disclosure based on this allegation.



                                                   16
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 17 of 29




       Second, Plaintiff alleges that the following statement in the proxy is “deceitfully worded”

because it avoids disclosing the benefit to Kaye, who did not participate in the board vote: “it is

not currently anticipated that our liquidation and dissolution will result in any material benefit to

any of our executive officers or to directors who participated in the vote to adopt the Plan of

Dissolution.” (Second Am. Compl. ¶ 133; Mem. of Law in Opp’n to D&O Defs. Mot. to Dismiss

Second Am. Compl. at 16.) Plaintiff also argues that this statement fails to consider the

severance packages to which Armstrong and Kelly would be entitled upon dissolution. (Mem. of

Law in Opp’n to D&O Defs. Mot. to Dismiss Second Am. Compl. at 16.) In this case it is

Plaintiff’s argument, not the proxy, which is misleading. The sentence quoted above begins with

the phrase “[o]ther than as set forth above” and is directly preceded by a lengthy statement of the

benefits the directors and officers would receive, including the severance packages, as well as a

caveat that “[a]s a result of these benefits, our directors and executive officers generally could be

more likely to vote to approve the Plan of Dissolution.” (Proxy at 11–14.) As discussed above,

the SAC does not adequately allege that Kaye received any other benefits from the dissolution

besides those described in the proxy. Plaintiff does not state a claim on this point.

       Third, Plaintiff argues that the D&O Defendants should have disclosed that selling

Genaera as a whole would have allowed it to monetize its net operating loss, which Plaintiff

believes was the most valuable alternative to dissolution. (Second Am. Compl. ¶ 118.) However,

Delaware law does not require directors to disclose all the possible alternatives, because it is the

directors’ responsibility to consider various courses of action and to decide which to propose.

Dent, 2014 WL 2931180, at *15. Plaintiff’s opinions about the relative strength of this option do

not make it a material omission, and thus Plaintiff fails to state a claim.




                                                  17
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 18 of 29




       Fourth, Plaintiff argues that various pieces of information about the value of Genaera’s

assets should have been disclosed in the proxy. None meets the requirements to state a claim for

breach of the duty of disclosure under Delaware law. He states that the proxy should have

included independent valuation estimates for the assets, but does not allege that current

valuations existed and were “within the board’s control.” (Second Am. Compl. ¶ 130); see

Loudon v. Archer-Daniel-Midlands Co., 700 A.2d 135, 143 (Del. 1997). He argues that the

directors should have disclosed that Genaera had the right to demand the return of Pexiganan but

that they, as Genaera’s directors, had refused to exercise that right. (Second Am. Compl.

¶ 127(h).) Even if this were true, which is not supported by Plaintiff’s reference to the license

agreement with MacroChem, directors are not required to engage in “self-flagellation” by

drawing legal conclusions that implicate themselves in breaches of fiduciary duty. See Loudon,

700 A.2d at 143; (Mem. of Law in Opp’n to D&O Defs. Mot. to Dismiss, at 18; D&O Defs. Mot.

to Dismiss, Ex. 7 [MacroChem License Agreement], at 25.). Plaintiff also alleges that the D&O

Defendants should have included information about MedImmune’s plans to end an existing

clinical hold and resume active development of the IL9 program. (Second Am. Compl. ¶ 127.)

However, since the proxy also does not discuss the clinical hold, the SAC does not state a claim

that information about the end of that hold would sufficiently alter the total mix of information to

be considered material. (See Proxy at 4.) Plaintiff alleges that the D&O Defendants failed to

disclose that bidders were seeking to purchase the Aminosterol Assets, but the Proxy does

discuss the Board’s ongoing negotiations for the sale of those assets. (See Second Am. Compl. ¶

127(g); Proxy at 5.)

       Finally, Plaintiff alleges that the Directors had already selected Skolas to be the Trustee

of GLT and failed to disclose this information in the proxy. (Second Am. Compl. ¶ 137.) This is



                                                18
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 19 of 29




a factual allegation that the Court must credit, and it is supported by the short timeline of

approximately a month between the issuance of the proxy and the signing of the Trust

Agreement. (See Second Am. Compl. ¶ 150.) The choice of Trustee’s impact on the course of

Genaera’s dissolution would “sufficiently alter[] the total mix of information” available to the

shareholders. See Loudon, 700 A.2d at 143. Therefore, Plaintiff states a claim in this instance for

breach of the duty of disclosure.

       In sum, there is a single allegation that states a claim against the D&O Defendants for

breach of fiduciary duty: that the D&O Defendants failed to disclose the fact that they had

already selected the Trustee. (Second Am. Compl. ¶ 137.) However, this claim, as described in

the next section, must be dismissed for lack of timeliness.

               3. Statute of Limitations

       On appeal from this Court’s August 12, 2013 Order, the Third Circuit held that Plaintiff’s

allegations, on their face, did not show that he had missed the statute of limitations with regard to

the sale of Genaera’s various assets. Schmidt, 770 F.3d at 253. The court acknowledged,

however, that a claim may be dismissed under Rule 12(b)(6) on the basis of the statute of

limitations if the defense is apparent from the face of the complaint, even if the plaintiff invokes

the discovery rule. Id. at 249, 251. The Third Circuit held that the face of the First Amended

Complaint did not make clear that Plaintiff knew or should have known more than two years

before the filing of this lawsuit that the Trustee had sold Genaera’s assets for unacceptably low

prices. See id. at 252–53. However, the Third Circuit did not address the narrower breach of the

duty of disclosure claim that now survives against the D&O Defendants under Count I.

Therefore, it is appropriate for this Court to now consider whether the sole claim under Count I

that satisfies federal pleading standards is facially barred by the statute of limitations.



                                                  19
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 20 of 29




       The parties have previously agreed that Pennsylvania’s two-year statute of limitations for

breach of fiduciary duty applies. Id. at 250. Generally, the statute begins to run “as soon as the

right to institute and maintain suit arises.” Haugh v. Allstate Ins. Co., 322 F.3d 227, 231 (3d Cir.

2003). The event that gave rise to the surviving breach of the duty of disclosure claim occurred

on the date the proxy was issued, May 14, 2009. (Proxy at 2.) However, under Pennsylvania’s

discovery rule, the statute is tolled until the plaintiff knew or reasonably should have known that

the opposing party caused his injury. Haugh, 322 F.3d at 231. The sole allegation in question is

that the Genaera directors failed to disclose in the proxy that John Skolas and his firm, Argyce,

LLC, had been selected as Trustee, a fact that Plaintiff plausibly infers from the timing of the

announcement shortly after the shareholder vote. (Id. ¶ 137.) The SAC alleges that Argyce was

officially named Trustee on June 12, 2009, at which time Plaintiff’s shares were converted to

units of the liquidating trust. (Second Am. Compl. ¶¶ 150–51, 159.) The SAC also alleges that

Plaintiff had discussed the disposition of Genaera’s assets with Skolas prior to the sale of the IL9

program on May 18, 2010. (Id. ¶¶ 172, 174.) Therefore, it is clear from the face of the complaint

that Plaintiff actually knew that Skolas’s firm was selected as Trustee, likely as early as June 12,

2009 and definitely prior to May 18, 2010. When he filed this complaint on June 8, 2012, the

two-year statute of limitations had run. Since the SAC alleges facts showing actual knowledge of

the alleged breach of the duty of disclosure, it is unnecessary to inquire into when Plaintiff

should have been aware of the conduct in question in the exercise of reasonable diligence and

considering the fiduciary relationship between the parties. See Schmidt, 770 F.3d at 252–53.

Plaintiff’s claim for breach of the duty of disclosure concerning the D&O Defendants’ failure to

inform shareholders of Argyce’s selection as Trustee is barred by the statute of limitations.




                                                20
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 21 of 29




       B. Breach of Fiduciary Duty Against the Trust Defendants

       Like corporate directors and officers, trustees owe beneficiaries duties of due care,

loyalty, and good faith. See Bogert & Bogert, The Law of Trusts and Trustees §§ 542–44 (2014).

Plaintiff alleges that Argyce and Skolas breached these duties, as well as the duties owed under

the Trust Agreement between Genaera and Argyce, by mismanaging the sale of Genaera’s assets

and selling the IL9 program, Pexiganan, and the Aminosterol Assets for unreasonably low prices

as part of a coordinated effort to deliver those assets to insider purchasers. (Second Am. Compl.

¶¶ 160–220). He also argues that the fees charged to the Trust were excessive. (Id. ¶ 221.)

       The Trust Agreement imposes duties on the Trustee that generally mirror common law

fiduciary duties. (See Trustee Defs. Mot. to Dismiss Second Am. Compl., Ex. 2 [Trust

Agreement] § 7.1.) However, the Trust Agreement limits the Trustee’s liability, stating that

neither Argyce nor its employees or agents shall be subject to personal liability to any

beneficiary “except for gross negligence, fraud, or willful misconduct knowingly and

intentionally committed in bad faith.” (Id. § 7.3.) It also states that “the Trustee shall not be

liable for any reasonable error of judgment made in good faith.” (Id. § 7.1(d).) Delaware law

permits these types of exculpatory provisions, provided they do not exculpate conduct that rises

to the level of gross negligence. McNeil v. McNeil, 798 A.2d 503, 509 (Del. 2002). Plaintiff

briefly argues that the Trust Agreement should not be relied on because it is not integral to the

SAC. (See Mem. of Law in Opp’n to Trust Defs. Mot. to Dismiss Second Am. Compl. at 14 n.4.)

However, the SAC explicitly alleges breach of the Trust Agreement, and the common law

fiduciary duties underlying Plaintiff’s claim against the Trustee only exist by virtue of the

fiduciary relationship that the Trust Agreement creates. Therefore, this is a paradigm case in




                                                21
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 22 of 29




which a complaint explicitly relies on a document. See In re Burlington Coat Factory Sec. Litig.,

114 F.3d 1410, 1426 (3d Cir. 1997).

        Because the Trustee was selling Genaera’s assets for cash, Delaware’s Revlon standard of

review, which requires the fiduciary to maximize shareholder value, applies. See Paramount

Comms. Inc. v. QVC Network Inc., 637 A.2d 34, 46 (Del. 1993). Although the Delaware

Supreme Court’s decision in Revlon came in the context of a challenge to the actions of

corporate directors, it stemmed from existing Delaware law that requires any fiduciary who sells

an asset for cash to pursue the single goal of obtaining the best price available. See Revlon, Inc.

v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173, 185 (Del. 1986); Wilmington Trust, 200

A.2d at 448 (noting that “ordinarily speaking, when selling trust assets a Trustee is required to

obtain the best price obtainable”). Thus, Argyce was under a duty to sell Genaera’s assets for the

highest possible price. However, under the Trust Agreement, Argyce can only be liable to

Plaintiff if it acted with gross negligence or in bad faith in failing to discharge this duty.

        Plaintiff argues that the Trustee acted in bad faith, but he does not allege facts sufficient

to support this conclusion. The SAC does not allege any communications with the various

purchaser Defendants that would suggest that the Trustee conspired to sell them the assets at low

prices. Plaintiff alleges that the Trustee sold the IL9 program to Ligand with the purpose of

secretly benefiting BVF. However, he cites no legal authority to support the proposition that a

conflict of interest would have prevented BVF from purchasing the asset directly. (See Second

Am. Compl. ¶¶ 173, 184; Mem. of Law in Opp’n to Trustee Defs. Mot. to Dismiss, at 15.) This

is a legal conclusion that the Court need not credit, and in fact appears to be incorrect. See

Fowler, 578 F.3d at 210–11. Therefore, nothing in the series of apparently legal transactions

Plaintiff alleges that the Trustee engaged in suggests that it must have colluded with the



                                                  22
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 23 of 29




purchasers in bad faith. See Twombly, 550 U.S. at 566 (requiring allegations of more than

parallel business conduct to state a claim for conspiracy). Plaintiff’s allegations of fraud and bad

faith are thus entirely conclusory.

       Plaintiff also argues that the Trustee utilized inadequate bidding procedures for

Pexiganan, the IL9 program, and the Aminosterol Assets, which failed to foster sufficient

competition for the assets and thus yielded below-market prices. (See Second Am. Compl. ¶¶

173, 182, 191, 205–07.) While the facts alleged in the SAC suggest that the Trustee may have

rushed the sales of certain assets, these facts do not state a claim for gross negligence, as required

by the Trust Agreement. Under Delaware law, gross negligence constitutes an “extreme

departure from the ordinary standard of care” and is functionally equivalent to criminal

negligence. Hardy v. Hardy, Civ. A. No. 7531, 2014 WL 3736331, at * 15 (Del. Ch. July 29,

2014). In order to state a claim for gross negligence, Plaintiff must plead facts tending to show

that the Trustee acted “outside the bounds of reason.” See Albert v. Alex. Brown Mgmt. Servs.,

Inc., Civ. A. No. 762, 2005 WL 2130607, at *4 (Del. Ch. Aug. 26, 2005). While the Revlon

standard of review is less deferential than the business judgment rule, it does not give courts

license to second guess reasonable decisions. In re Lear Corp. S’holder Litig., 926 A.2d 94, 115

(Del. Ch. 2007).

       The facts alleged in the SAC about the sales of the three assets at issue do not give rise to

an inference of unreasonableness. Plaintiff alleges that the Trustee’s valuation of the IL9

program was unreasonable based on independent market estimates of potential sales. (Second

Am. Compl. ¶ 169.) However, he explains that the Trustee had decreased the valuation of the

program to reflect the additional time that would be required to bring the drug to market, and

fails to explain why that adjustment was unreasonable. (See id. ¶ 168.) Plaintiff focuses on the



                                                 23
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 24 of 29




alleged conspiracy to transfer the IL9 program to BVF, but does not show that the Trustee’s

decision to sell the program for $2.75 million constituted an extreme departure from the standard

of care. (See id. ¶¶ 178–83.) Plaintiff also argues that by setting a short deadline for bids on both

Pexiganan and IL9 of only one month after the first public announcement of their sale, the

Trustee favored insiders who were already familiar with the assets. (Id. ¶ 191.) While it may be

true that the short deadline was favorable to insiders, a short window for bids could just as easily

encourage, rather than discourage, potential purchasers to make offers, and thus the length of the

bidding period cannot itself state a claim for gross negligence. Finally, Plaintiff alleges that by

selling the Aminosterol Assets less than a month after the formation of the Trust, the Trustee lost

the opportunity to sell the assets to a higher bidder. (Id. ¶¶ 205–12.) However, as the SAC

alleges, Genaera was already in negotiations with the eventual purchaser, among others, to sell

the Aminosterol Assets prior to dissolution. (Id. ¶¶ 127(g).) The fact that the Trustee

consummated this transaction shortly after Genaera’s dissolution does not give rise to an

inference of gross negligence. Critically, plaintiff never alleges that the sale price of any of these

three assets was significantly below a contemporaneous valuation or an existing offer. Cf. In re

Comverge, Inc., Civ. A. No. 7368, 2014 WL 6686570, at *12 (Del. Ch. Nov. 25, 2014) (finding

that the plaintiff stated a claim for gross negligence under Revlon where the directors agreed to a

merger price 7.4% below the market price of the business’s common stock the day before the

announcement). Therefore, Plaintiff fails to allege facts stating a plausible claim of gross

negligence.

       Plaintiff’s final contention is that the fees charged by the Trustee were “excessive.”

(Second Am. Compl. ¶ 221.) However, the SAC does not allege that the fee violated the terms of

the Trust Agreement or that the Trust Agreement’s fee provision was unreasonable. Nor does it



                                                 24
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 25 of 29




allege any other facts to support the claim that the fees were excessive. Therefore, Plaintiff does

not state a claim for breach of fiduciary duty against the Trust Defendants.

       C. Aiding and Abetting the D&O Defendants’ and Trust Defendants’ Breaches of
          Fiduciary Duty

       In addition to alleging breach of fiduciary duty by the D&O Defendants and Trust

Defendants, Counts I and II allege aiding and abetting that breach by all of the other defendants.

“Under Delaware law, a valid claim for aiding and abetting a breach of fiduciary duty requires:

(1) the existence of a fiduciary relationship; (2) the fiduciary breached its duty; (3) a defendant,

who is not a fiduciary, knowingly participated in a breach; and (4) damages to the plaintiff

resulted from the concerted action of the fiduciary and the nonfiduciary.” Globis Partners, L.P.

v. Plumtree Software, Inc., No. 1577-VCP, 2007 WL 4292024, at *15 (Del. Ch. Nov. 30, 2007).

Knowing participation requires a plaintiff to show that the defendant advocated or assisted

conduct while knowing that the conduct constituted a breach of fiduciary duty. Malpiede v.

Townson, 780 A.2d 1075, 1097 (Del. 2001). As noted above, Plaintiff has not stated a claim

against the D&O Defendants or the Trust Defendants for breach of their fiduciary duties, aside

from a single time-barred breach of the duty of disclosure. Therefore, he similarly cannot state a

claim against the remaining Defendants for aiding and abetting. However, even if Plaintiff had

stated a primary claim under Count I or Count II, he still does not sufficiently allege knowing

participation by any of the defendants to establish aiding and abetting. The Court will briefly

discuss the allegations against each defendant.

               1. D&O Defendants

       Except Kelly, who was employed by Argyce, Plaintiff does not allege that any of the

D&O Defendants communicated with the Trustee in any way after the establishment of GLT.

The SAC makes no specific allegations about Kelly’s role in the Trustee’s alleged breach of

                                                  25
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 26 of 29




fiduciary duty. As discussed above, the allegation that Kaye provided confidential information to

BVF, which was made “upon information and belief,” is not supported by facts that make the

inference plausible. (See Second Am. Compl. ¶ 179.) The SAC does not allege any facts that

show that the D&O Defendants advocated or assisted any of the Trustee’s conduct, much less

that they aided and abetted the Trustee in breaching its fiduciary duties. Plaintiff seems to

suggest that by selecting Argyce as the Trustee, the D&O Defendants enabled Argyce to breach

its fiduciary duties. However, the fact that they created the initial fiduciary relationship does not

mean that they aided and abetted a breach of the Trustee’s fiduciary duties.

               2. Trust Defendants

       Plaintiff’s argument that Skolas and Argyce aided and abetted the D&O Defendants’

alleged breach is similarly unsubstantiated by the SAC. The SAC does not allege any facts

tending to show that the Trust Defendants asked or encouraged the D&O Defendants to dissolve

Genaera. Rather, it alleges in a conclusory manner that they knew about and participated in the

D&O Defendants’ actions. (Id. ¶ 229); cf. Iqbal, 556 U.S. at 678. Plaintiff’s argument that

“Skolas’s knowing participation was necessary for the D&O Defendants’ breach to have

purpose,” is circular and highlights Plaintiff’s inability to show, based on the facts alleged in the

SAC, that he is entitled to relief. See Fowler, 578 at 211; (Mem. of Law in Opp’n to Trustee

Defs. Mot. to Dismiss, at 12.).

               3. Access Defendants

       Plaintiff argues that Access purposefully stopped developing Pexiganan in order to end

the original license and allow Luci and DeLuccia, who were then Access directors and officers,

to form a new company and buy Pexiganan on more favorable terms. He further suggests that

MacroChem’s previous acquisition of Virium was somehow part of this scheme. (Second Am.



                                                 26
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 27 of 29




Compl. ¶¶ 92–109, 198.) However, he does not allege any actual interactions between Access

and the D&O or Trust Defendants, other than arm’s-length transactions that cannot constitute

aiding and abetting. See Malpiede, 780 A.2d at 1097–98 (recognizing that arm’s-length

negotiations do not constitute aiding and abetting unless the bidder attempts to create or exploit

conflicts of interest in the target company’s board, or conspires with the board). While Plaintiff

alleges that Kaye had co-invested with Defendants Rouhandeh, Davis, and SCO in another

company, he does not allege facts that connect this investment to any breach of fiduciary duty

relating to Genaera. (Second Am. Comp. ¶ 67.) The allegations that the Access Defendants knew

that the Genaera directors were breaching their fiduciary duties and conspired with them to do so

are conclusory and are not supported by any facts showing that the Access Defendants actually

advocated or assisted in any challenged conduct.

               4. BVF Defendants

       Plaintiff alleges that BVF’s President, Lampert, used his personal relationship with Kaye

and BVF’s status as Genaera’s second-largest shareholder to encourage the company’s

dissolution and to obtain a partial interest in the IL9 program for BVF at a low price. (Second

Am. Compl. ¶¶ 65, 127(l), 173, 178–79.) However, as noted above, purchasing an asset at arm’s-

length does not constitute aiding and abetting. The only other fact that Plaintiff alleges about

BVF’s involvement is that Kaye provided Lampert with confidential information about IL9.

However, even if true, this fact would not state a claim. See In re Answers Corp. S’holder Litig.,

No. 6170-VCN, 2012 WL 1253072, at *10 (Del. Ch. Apr. 11, 2012) (“When a board is

negotiating the sale of the company it directs, the board typically provides potential purchasers

with confidential information about the company, and the receipt of confidential information,

without more, will not usually be enough to plead a claim for aiding and abetting.”). Plaintiff



                                               27
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 28 of 29




does not allege any other facts that suggest that the BVF Defendants advocated or assisted any of

the D&O or Trust Defendants’ conduct.

               5. XMark Defendants

       The only action XMark is alleged to have taken to encourage the challenged conduct is

voting its shares in favor of Genaera’s dissolution. (Second Am. Compl. ¶ 142.) This fact,

however, does not give rise to an inference of wrongdoing. Rather, Delaware law presumes that

when a large shareholder votes for a decision, it does so with the goal of maximizing the value of

its own shares, and thus all other shareholders’ shares. See In re Morton’s Restaurant Grp., Inc.

S’holder Litig., 74 A.3d 656, 662 (Del. Ch. 2013). The only allegation suggesting that XMark

received a benefit at the expense of other shareholders is that it had prearranged to sell a large

amount of stock at a high price on the day after the shareholder vote. (Second Am. Compl. ¶

148.) However, the SAC does not allege facts showing any relationship between the dissolution

vote and the sale of stock that would create a motive for Xmark to circumvent the other

shareholders’ interests. The facts alleged against XMark are insufficient to state a claim for

aiding and abetting.

               6. Dipexium Defendants

       The Dipexium Defendants benefitted from Genaera’s dissolution. Luci and DeLuccia,

former directors and officers of Access and MacroChem, formed Dipexium in order to acquire

Pexiganan on more favorable terms than Access/MacroChem’s previous license. (Id. ¶ 193.)

However, Plaintiff does not allege any contact with the D&O Defendants or the Trust

Defendants that could constitute knowing participation. Again, arm’s-length negotiations do not

constitute aiding and abetting unless the Defendant tries to create, exploit, or otherwise profit

from a fiduciary’s conflict. In re Hechinger Inv. Co. of Del., Inc., 278 F. App’x 125, 130 (3d Cir.



                                                28
       Case 2:12-cv-03265-BMS Document 194 Filed 11/10/15 Page 29 of 29




2008). An allegation that a bidder got a favorable deal does not give rise to an inference of aiding

and abetting. In re Comverge, Inc., No. 7368-VCP, 2014 WL 6686570, at *19 (Del. Ch. Nov.

25, 2014). Thus the facts alleged against the Dipexium Defendants do not state a claim.

               7. Ligand Defendants

       Plaintiff similarly fails to state a claim against the Ligand Defendants. Ligand’s only

alleged involvement with Genaera was purchasing the IL9 program from the Trustee and then

selling a half interest to BVF. (Second Am. Compl. ¶ 173.) Contrary to Plaintiff’s claims,

however, there is no apparent reason why BVF could not have bought the IL9 program from

GLT directly. In any event, the SAC does not allege any interactions between the Ligand

Defendants and the D&O and Trust Defendants that could constitute aiding and abetting by the

Ligand Defendants.

       D. Punitive Damages and Recission

       Punitive damages and recission are remedies. See Fulton Bank, N.A. v. UBS Secs. LLC,

2011 WL 5386376, at *16 (E.D. Pa. 2011). Therefore, since the underlying causes of action in

Counts I and II of the SAC will be dismissed, Counts III and IV must be dismissed as well.

IV.    CONCLUSION

       For the foregoing reasons, the Court grants Defendants’ motions to dismiss. An Order

consistent with this Memorandum will be docketed separately.




                                                29
